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                                                                      USDC-SDNY
UNITED STATES DISTRICT COURT
                                                                      DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                         ELECTRONICALLY FILED
                                                                      DOC#:
 NYC TRUCKING CORPORATION,                                            DATE FILED: 11-6-20

                              Plaintiff,

                         v.                                              20-CV-6816 (RA)

                                                                              ORDER
 MANNA LEXINGTON AVENUE, LLC, et
 al.,

                              Defendants.



RONNIE ABRAMS, United States District Judge:

         As discussed at today’s conference, no later than Friday, November 13, the parties shall submit

a joint letter (1) stating the parties’ positions with respect to the jurisdictional issue raised by counsel for

Defendants; and (2) stating whether the parties would like a referral to Magistrate Judge Wang for a

settlement conference, or alternatively to the Southern District’s mediation program. The parties shall

also submit a proposed case management plan with adjusted deadlines for discovery.

SO ORDERED.

Dated:      November 6, 2020
            New York, New York

                                                     RONNIE ABRAMS
                                                     United States District Judge
